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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


  IN RE: JOHNSON & JOHNSON
  TALCUM POWDER PRODUCTS                       Case No. 3:16-md-2738-MAS-RLS
  MARKETING, SALES PRACTICES
                                               MDL Case No. 2738
  AND PRODUCTS LIABILITY
  LITIGATION




 DECLARATION OF STEPHEN D. BRODY CERTIFYING COMPLIANCE
                WITH LOCAL RULE 37.1(B)(1)


       I, Stephen D. Brody, hereby declare and state as follows:

             1.     I am over the age of eighteen, of sound mind, and in all respects

       competent to testify. I have personal knowledge of the information

       contained in this Declaration and would testify completely to these facts if

       called to do so.

             2.     I represent Defendants Johnson & Johnson and LLT

       Management, LLC (collectively, “J&J”) in the above-captioned litigation.

             3.     A true and correct copy of a February 28, 2024 letter from

       counsel for PricewaterhouseCoopers, LLP (“PwC”) to Michelle Parfitt

       containing PwC’s objections to Plaintiffs’ February 15, 2024 subpoena is

       attached as Exhibit 1 to this Declaration.



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              4.     A true and correct copy of my February 28, 2024 letter to Ms.

       Parfitt is attached as Exhibit 2 to this Declaration.

              5.     I certify that on February 28, 2024, J&J met and conferred in

       good faith with members of the Plaintiffs’ Steering Committee to discuss

       J&J’s objections to the February 15 subpoena, as required by Rule

       37.1(B)(1).

 I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed this 29th day of February, 2024.

                                         /s/ Stephen D. Brody
                                         Stephen D. Brody

                                         Counsel for Defendants Johnson & Johnson
                                         and LLT Management, LLC




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